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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

OLUWASEUN OLUBUKOLA OGUNBAMBO
(a.k.a. ADEKUNBO BENSON),

Petitioner, 21-cv-8872 (PIC)
-against- ORDER
ALEJANDRO MAYORKAS, Secretary of the
United States Department of Homeland Security,
et al.,

Respondents.

CASTEL, U.S.D.J.

Petitioner, who has multiple criminal convictions and was previously removed
from the United States, seeks release from detention by federal immigration authorities or
alternatively an individualized bond hearing before an impartial adjudicator. He asserts that he
was granted a deferral of removal from the United States by an Immigration Judge under the
Convention Against Torture. An appeal of the Immigration Judge’s grant of a deferral of
removal by the Department of Homeland Security is reportedly pending before the Board of
_ Immigration Appeals. Petitioner asserts that he has been in immigration custody for more than
six months following his release from the Bureau of Prisons.

Let the Respondents shall cause in writing by December 10, 2021 why the
petition ought not be granted. Petitioner may reply by January 7, 2022

The Clerk shall unseal the docket to reflect the identities of all parties. The

petitioner shall show cause in writing within 14 days why the Court ought not Order the

 
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petitioner to file on the docket a redacted version of the Petition with only limited redactions for
family addresses, confidential medical and other personal information.

Petitioner shall serve this Order on all respondents within five days of this Order.

P. Kevin Castel
United States District Judge

SO ORDERED.

Dated: New York, New York
November ?, 2021

 
